       Case 1:21-cv-03354-BAH Document 49-1 Filed 04/28/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



RUBY FREEMAN, et al.,

                       Plaintiffs,
                                                  Civil Action No. 1: 21-cv-03354 (BAH)
               v.
                                                  Chief Judge Beryl A. Howell
RUDOLPH W. GIULIANI, Defendant.




       DECLARATION OF CHRISTINE KWON IN SUPPORT OF MOTION FOR
                ADMISSION OF ATTORNEY PRO HAC VICE

    I, Christine Kwon, hereby declare:

        1.     My name, office address, and telephone number are as follows:

        Christine Eunhye Kwon
        UNITED TO PROTECT DEMOCRACY
        Gas Company Tower
        555 West 5th Street, 35th Floor
        Los Angeles, CA 90013
        Telephone: (202) 579-4582

        2.     I have been admitted to the following courts and bars:

        California State Bar (Bar ID: 319384)
        U.S. District Court for the Southern District of California
        (Bar ID: 319384)

       3.      I am currently in good standing with all states, courts, and bars in which I am a

part. I hereby certify that I have not been disciplined by any bar.

       4.      I have not been admitted pro hac vice in this Court within the last two years.

       5.      I do not engage in the practice of law from an office located in the District of

Columbia.
Case 1:21-cv-03354-BAH Document 49-1 Filed 04/28/23 Page 2 of 2
